  AO 245C (Rev. 06/05)Case   2:09-cr-00090-WHA-CSC
                       Amended Judgment in a Criminal Case                 Document 441 Filed 11/04/10(NOTE:
                                                                                                         Page     1 of 5
                                                                                                             Identify Changes with Asterisks (*))
           Sheet I


                                             UNITED STATES DISTRICT COURT
                             Middle                                       District of                                      Alabama
           UNITED STATES OF AMERJCA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
            JABRELL IWANIKEA WRIGHT                                                Case Number:                     2:09cr090-WHA-10
                                                                                   USM Number:                      12807-002
Date of Original Judgment:                     June 30, 2010                                                Jeffery C. Duffy
(Or Date of Last Amended Judgment)                                                 Defendant's Attorney
Reason for Amendment:
E Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                   LI Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
    Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 LI Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            LI Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   Lii Direct Motion to District Court Pursuant fl 28 U.S.C. § 2255 or
                                                                                      fl 18 U.S.C. § 3559(c)(7)
                                                                                   fl Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
X pleaded guilty to count(s) 12 of the Indictment on September 1, 2009
      pleadednob contendere to count(s) __________________________________________________________________________________
     which was accepted by the court.
LI was found guilty on count(s) ______________
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                Offense Ended                Count
18:513(a) & 18:2                    Possession or utterance of forged security; aiding & abetting                      10/10/08                    12




       The defendant is sentenced as provided in pages 2                    through 5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   Thedefendant has been found not guilty on count(s) ____________________________________________________________________
X Count(s)           1 of the Indictment         x is      are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                   November 4, 2010
                                                                                  Date of Imposition of Judgm


                                                                                  Signature of Judge
                                                                                  W. Harold Albritton, Senior U. S. District Judge
                                                                                  Name and Title of Judge

                                                                                                    /       //
                                                                                  Date                     / '
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AO 245C        (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet 4 - Probation                                                                           (NOTE. Identif' Changes with Asterisks (*))
                                                                                                          Judgment—Page        2      of          5
DEFENDANT:     JABRELL IWANIKEA WRIGHT
CASE NUMBER: 2:09cr090-WHA-1O
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:

THREE (3) years.




The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                 If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notif,' the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
11)       the defendant shall notif' the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
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AO 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 4C - Probation                                                            (NOTE. Identify Changes with Asterisks (*))
                                                                                        Judgment—Page        3     of          5
DEFENDANT:     JABRELL IWANIKEA WRIGHT
CASE NUMBER: 2:09cr090-WHA-1O

                                      SPECIAL CONDITIONS OF SUPERVISION


Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties                                                           (NOTE: Identif' Changes with Asterisks (*))
                                                                                                      Judgment - Page      4      of            5
DEFENDANT:                            JABRELL IWANIKEA WRIGHT
CASE NUMBER:                          2:09cr090-WHA-1O
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                      Fine                                 Restitution
TOTALS              $ 100.00                                        $ -0-                                 $ 5,629.18


Li The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

Li The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately prqportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss*                        Restitution Ordered                     Priority or Percenta2e

Alfa Mutual Insurance Co.                                                                $ 3,433.80
Attn: Craig Venable, Audit Services
P. O.Box 11000
Montgomery, AL
Claim # 6380045794

Zurich Surety and Financial                                                               $2,195.38
  Claims Restitution
Attn: Helen Rasmussen
P.O.Box 17022-MD 1-05-04
Baltimore, MD
Claim # 63800457944




TOTALS                                 $                                    $             5,629.18


Li Restitution amount ordered pursuant to plea agreement $

Li The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

X The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
      x the interest requirement is waived for           Li fine     X restitution.
      Li the interest requirement for the Li fine               Li restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                                 (NOTE: Identif' Changes with Asterisks (*))
                                                                                                        Judgment - Page        5      of         5
DEFENDANT:     JABRELL IWANIKEA WRIGHT
CASE NUMBER: 2:09cr090-WHA-1O


                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A X Lump sum payment of$ 5,729.18                               due immediately, balance due

           Jnot later than _________________________ , or
               in accordance with Li C, LI D, Li E, or x F below; or

B Li Payment to begin immediately (may be combined with                      C,         D, or        F below); or

C          Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
          ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
          ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E Li Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F Li Special instructions regarding the payment of criminal monetary penalties:

                     Payment shall be made to the Clerk, U. S. District Court, P. 0. Box 711, Montgomery, AL 36101.

                    Any balance remaining at the start of supervision shall be paid at the rate of not less
                    than $75 per month.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X Joint and Several *

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.
     Jabrell Iwanikea Wright, 2:09cr090-WHA-10, Total: $5,629.18; Kristi McKeithen, 2:09cr090-WHA-01, Joint and Several:
     $5,629.18 *



Li The defendant shall pay the cost of prosecution.

Li The defendant shall pay the following court cost(s):

Li The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
